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                                                                          Page 329
          UNITED STATES DISTRICT COURT

          EASTERN DISTRICT OF NEW YORK

          Case No. CV-0401945 (JBW)(SMG)


  ----------------------------)
  BARBARA SCHWAB, ET AL,      )
  INDIVIDUALLY AND ON         )
  BEHALF OF A CLASS OF ALL    )
  OTHERS SIMILARLY            )
  SITUATED,                   )
            Plaintiffs,       )
                              )
         VS.                  )
                              )
  PHILIP MORRIS USA, INC.,    )
  ET AL,                      )
            Defendants.       )
  ----------------------------)

  DAY II
  PAGES 329-580


           VIDEOTAPED DEPOSITION of

  DOCTOR JOHN R. HAUSER, called as a witness

  by and on behalf of the Defendant, pursuant

  to the Federal Rules of Civil Procedure,

  before Teresa E. Costello, Registered

  Professional Reporter, Certified Shorthand

  Reporter No. 1452S98, and Notary Public

  within and for the Commonwealth of

  Massachusetts, at the offices of

  Goodwin Procter, 53 State Street, Boston,

  Massachusetts, on Friday, March 24, 2006,

  commencing at 10:06 a.m.




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                                              Page 346                                                 Page 348
 1   A. I still find the question confusing, but let      1           MR. GALLAGHER: Same objection.
 2     me attempt to answer it. In the internet           2   A. The focus of the internet survey was to
 3     survey the -- in the conjoint analysis I did       3     determine consumers' trade-offs between
 4     not attempt to measure the reasons as to why       4     health risk, price, taste and other
 5     people started smoking in the first place.         5     dimensions. The internet conjoint analysis
 6   Q. In the conjoint analysis you made no effort       6     survey was not a study of smoking cessation.
 7     to determine whether anyone would not have         7   Q. Consequently you've made no effort to
 8     started smoking if he perceived that light         8     determine the percentage, if any, of light
 9     cigarettes were as unhealthy as regular            9     smokers who would have stopped smoking if
10     cigarettes?                                       10     they believed that low tar cigarettes,
11            MR. GALLAGHER: Objection to the            11     including lights, were as unhealthy as
12     form.                                             12     regular cigarettes, correct?
13   A. In the internet survey, the conjoint             13   A. That's not quite true.
14     analysis survey, I did not attempt to             14   Q. What percentage of consumers, according to
15     determine the causes that led consumers to        15     your internet survey, would have stopped
16     start smoking, and therefore I did not            16     smoking if they perceived that light
17     measure in the conjoint analysis internet         17     cigarettes were as unhealthy as regular
18     survey whether or not starting smoking was        18     cigarettes?
19     due to health risk.                               19   A. Well, I haven't looked at all the data to
20   Q. Okay. In the internet survey you made no         20     answer that particular question; however,
21     effort to determine why consumers switched        21     the following I do know. That when we give
22     from one brand to another during their            22     them statements such as change in health,
23     smoking history, correct?                         23     they have indicated that they would continue
24   A. The purpose of the internet survey focused       24     to purchase the cigarettes, but at a
25     on the brand they were now smoking and then       25     different price, for example, so this data,
                                              Page 347                                                 Page 349
 1   trade-offs between health risk, monetary             1   while not directly addressing that question,
 2   value, taste and other dimensions, and thus          2   is certainly data that could inform the
 3   the respondents were conditioned upon                3   answer to that question, and so as a result,
 4   already having chosen a brand. The internet          4   you know, it's a study that certainly could
 5   survey was not focused on inter brand                5   be done.
 6   choice.                                              6          I'm not providing an expert opinion
 7 Q. So you made no effort and you have not              7   on smoking cessation; however, it's
 8   calculated the percentage of light smokers           8   possible, should I be asked to reanalyze the
 9   who would have switched to other cigarettes          9   data with smoking cessation in mind, I might
10   if they perceived -- let me rephrase that           10   be able to form opinions, but I've not done
11   question.                                           11   that at this point, and I'm not providing an
12         You have not looked to determine              12   expert opinion on smoking cessation.
13   what percentage of light smokers would have         13 Q. Indeed -- in the current marketplace there
14   stopped smoking if they perceived that low          14   was cigarettes that are unfiltered. There
15   tar cigarettes, including lights, were as           15   are cigarettes, higher tar cigarettes,
16   unhealthy as regular cigarettes, correct?           16   full-flavored cigarettes with filters.
17         MR. GALLAGHER: Objection to the               17   There are low tar cigarettes including light
18   form.                                               18   cigarettes, and there are ultra light
19 A. Could you rephrase that?                           19   cigarettes, correct?
20 Q. Ah-hah. You have made no effort to                 20 A. I'm -- you're making a statement as to the
21   determine what percentage of light cigarette        21   marketplace which sounds reasonable. I'm
22   smokers would have stopped smoking if they          22   willing to accept that as your statement
23   perceived that low tar cigarettes, including        23   subject to verification.
24   lights, were as unhealthy as regular                24 Q. Every one of the participants in your survey
25   cigarettes, correct?                                25   have rejected ultra light cigarettes, is
                                                                                 6 (Pages 346 to 349)
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                                              Page 378                                                Page 380
 1   A. Are you referring to interviews in this           1   they were able and willing to make
 2     case?                                              2   trade-offs with respect to regular. We did
 3   Q. Yes.                                              3   not do any quantitative analysis of pre-test
 4   A. Okay, you're referring to interviews in this      4   interviews nor did we do a quantitative
 5     case. I debriefed -- I was debriefed by Mr.        5   analysis of qualitative interviews as is
 6     Gaskin and Miss Schusshein on the interviews       6   appropriate survey methodology; therefore,
 7     that they conducted; however, I did not            7   since I did not record the number of people
 8     conduct any additional interviews beyond the       8   who told me that or described cigarettes as
 9     interviews that they conducted at my               9   regular whether they be filtered or
10     direction.                                        10   unfiltered or whatever, that was not
11   Q. So to the best of your knowledge -- let me       11   recorded; therefore, I cannot, sitting here
12     go back. No consumer has ever told you,           12   today, give you the exact number of people.
13     personally, that he views a filter tip            13 Q. Let me represent to you that at his
14     cigarette as a regular cigarette, is that         14   deposition two weeks ago Doctor Jeffrey
15     correct?                                          15   Harris said that he found the word, regular,
16           MR. GALLAGHER: Objection to the             16   as used in this survey to be ambiguous. Now
17     form.                                             17   I'm going to ask you questions with regard
18   A. I can't answer that. I've spoken to many         18   to specific ads. Let me hand you what's
19     consumers in many instances totally outside       19   been marked for identification purposes
20     this case. I do not recall whether they           20   as --
21     referred to cigarettes as regular cigarettes      21         MR. GALLAGHER: Hold on. What was
22     or not. It's certainly the word that I'm          22   the point of that? Are you going to ask him
23     used to hearing, so I form that belief            23   a question about what Doctor Harris said
24     sometime; however, I'm not giving an expert       24   about these ads?
25     opinion on that.                                  25         MR. GROSSMAN: Yes, about what
                                              Page 379                                                Page 381
 1           The pre-test interviews in this              1    Doctor Harris said and the ads.
 2     case were done or qualitative interviews           2           MR. GALLAGHER: Gratuitous.
 3     done in this case were done by my team.            3           MR. GROSSMAN: No. Both are
 4   Q. Now did Mr. Gaskin or Miss Schusshein tell        4    identical.
 5     you how many people being interviewed              5           MR. GALLAGHER: Do you have
 6     referred to filter tip cigarettes as               6    a copy of the transcript to show him what
 7     regular?                                           7    Doctor Harris actually said since that is
 8   A. Miss Schusshein and Mr. Gaskin told me that       8    available?
 9     based upon the qualitative interviews and          9           MR. GROSSMAN: I think we do. I
10     their experience and experiential                 10    think we do have a copy of it.
11     interviews, they told me that the questions       11           MR. GALLAGHER: He shouldn't have
12     as we ultimately worded them, were well           12    to rely on your representation of what
13     understood by consumers, and they can make        13    Doctor Harris said.
14     the appropriate trade-offs.                       14           MR. GROSSMAN: We're not going to
15           MR. GROSSMAN: Move to strike as             15    take time to do it now but --
16     non-responsive.                                   16           MR. GALLAGHER: If you can make
17   Q. Doctor Hauser, did Miss Schusshein or            17    that available, that's the fairest thing to
18     Mr. Gaskin specifically tell you the number       18    the witness because I think you're
19     of respondents, the number of people who          19    mischaracterizing Doctor Harris' testimony.
20     they interviewed who understood the word,         20           MR. GROSSMAN: Let me hand you
21     regular cigarette, to mean filter tip             21    this. We're not going to take time out to
22     cigarette?                                        22    do it right now, but I'll show you the
23           MR. GALLAGHER: Objection to the             23    portion.
24     form.                                             24           MR. GALLAGHER: Well, I don't think
25   A. Consumers understood the word, regular, and      25    he has to answer a question until he's seen
                                                                              14 (Pages 378 to 381)
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                                              Page 382                                                  Page 384
 1     it.                                                1   Q. Part of an M?
 2           MR. GROSSMAN: Well, I'm going to             2   A. Part of an M.
 3     ask him another question.                          3           MR. GALLAGHER: I have one more
 4   Q. Doctor Hauser, let me show you what's been        4     question. Are you representing the date
 5     marked for identification purposes as              5     written on here is the date when this ad
 6     Exhibit 15. It's an ad for Camel                   6     ran?
 7     cigarettes?                                        7           MR. GROSSMAN: It's my
 8           MR. GALLAGHER: Can you read that             8     understanding that that is the date when the
 9     copy, Doctor Hauser?                               9     ad ran. This is from 1967.
10   A. This is an ad with -- a little bit hard to       10           MR. GALLAGHER: 1967 prior to the
11     see -- it looks like P period -- I can't.         11     introduction of light cigarettes.
12     There's some pencil up here. It looks to be       12           MR. GROSSMAN: That's correct.
13     a date of 6/1/67?                                 13   Q. Have you ever seen this ad before,
14   Q. Yes. This is an advertisement from 1967 for      14     Doctor Hauser?
15     Camel cigarettes.                                 15   A. I've seen many, many ads throughout my life.
16   A. And there's another date that appears to be      16     This ad -- if I accept your representation
17     4/18/67. What do those mean?                      17     as 1967 which is almost 40 years ago, I do
18           MR. GALLAGHER: My copy is cut off.          18     not recall whether or not I've seen this ad
19     I don't even have the full advertisement.         19     40 years ago.
20   Q. Do you see under the -- that there are two       20   Q. Let me hand you what I've had marked for
21     packages of Camels in this ad?                    21     identification purposes as Hauser
22           MR. GALLAGHER: Doctor Harris, let           22     Exhibit 16. That's a Chesterfield ad. This
23     me see your version. This is not a complete       23     also is quite old. I don't know the date,
24     copy. It is cut off.                              24     but I believe it's from the 1960's.
25           MR. GROSSMAN: Your objection is             25   A. Okay, so you believe that this ad is from
                                              Page 383                                                  Page 385
 1     noted.                                             1     the 1960's, and I should accept that as a
 2           MR. GALLAGHER: A significant                 2     predicate?
 3     number of words on the right-hand side. It         3   Q. Yes.
 4     is unclear what the full ad says. Go ahead.        4   A. So should I write that on there?
 5           MR. GROSSMAN: Your objection is              5   Q. No, don't write that down there.
 6     noted.                                             6   A. So I can write that down on my yellow sheet
 7           MR. GALLAGHER: Thank you.                    7     of paper?
 8   Q. Doctor Hauser, do you see the two packages        8   Q. If you want to, sure.
 9     of cigarettes?                                     9   A. So we now have Chesterfield, assume 1960's.
10   A. There's a package of Camels and there's a        10   Q. Doctor, this ad represents two unfiltered
11     package of Camels that's a little bit cut         11     cigarettes, one called king size and the
12     off on this ad.                                   12     other a shorter pack. Do you see where it
13   Q. The one that just --                             13     says, "Chesterfield best for you?" And
14   A. A different package, yes.                        14     above that --
15   Q. The different package which is on the right      15   A. Wait. Where?
16     is an unfiltered cigarette, and the one on        16   Q. Lower right?
17     the left is a filtered cigarette, is that         17   A. Oh, okay. "Chesterfield, best for you."
18     correct?                                          18   Q. Above that it says, "Chesterfield first with
19   A. Yes.                                             19     premium quality in both regular and
20   Q. And underneath it says, "Regular or Filter.      20     king-size?"
21     Have a real smoke. Have a Camel."                 21   A. Yes, I see that.
22     Is that correct?                                  22   Q. And in that ad regular refers to the shorter
23   A. It says, "Regular or Filter," and then the       23     size unfiltered cigarette?
24     next line it says, Have a real smoke... have      24   A. Okay. In this advertisement which I'm going
25     a C-a-r.                                          25     to have to accept as a predicate, is a true
                                                                               15 (Pages 382 to 385)
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                                             Page 390                                                   Page 392
 1     coupon. Doctor Hauser, I've handed you            1     attention, if I may, to in the upper
 2     what's been marked for identification             2     right-hand corner page six.
 3     purposes as Hauser Number 19. This is a           3   A. Upper right-hand corner of page six.
 4     store coupon from 1981. If you look on the        4   Q. Page six in the upper right-hand corner?
 5     second page it says, "Coupon expiration           5   A. It's blank.
 6     date, December 31, 1981." Do you see that?        6            MR. GALLAGHER: No, it's --
 7   A. I see this. I'm sorry. Where is the date         7   A. You mean the text?
 8     on this?                                          8   Q. Do you see where it says page six up here?
 9   Q. Second page?                                     9     No, go further. The first eleven pages are
10   A. Second page. December 31st, 1981.               10     numbered at the bottom, and then there are
11   Q. You see this is a coupon to save $1 on a        11     pages --
12     carton of Camel Lights, Camel Filters or         12   A. Pages numbered at the top, okay. Okay, I
13     Camel Regulars?                                  13     have it.
14   A. I see where it says that, yes.                  14   Q. Could you look with me at the Camel
15   Q. It's your understanding, is it not, that        15     cigarettes listed?
16     Camel regular is the unfiltered product?         16   A. Yes.
17            MR. GALLAGHER: Objection to the           17   Q. You see there are described a number of five
18     form.                                            18     cigarettes that are 100's and then it has F?
19   A. You're asking me to make an opinion here? I     19     Some are listed as light or menthol or ultra
20     have not studied these nor have I talked to      20     light. Do you see that?
21     how consumers would interpret those.             21   A. I see basically a printout of a table here,
22   Q. Okay, I'd like to direct your attention --      22     yes, and what was your question?
23   A. This particular ad. I'm not saying how          23   Q. Do you see that some of the Camels are
24     consumers would interpret this particular        24     listed as 100's?
25     ad.                                              25   A. I see that in the second column of this
                                             Page 391                                                   Page 393
 1   Q. You've not studied how consumers interpret       1     table, Camels, there are one, two, three,
 2     any cigarette ad, is that correct?                2     four, five of them listed as 100.
 3   A. I have not done a systematic survey, study       3   Q. Do you see that there are then a number
 4     of cigarette advertising.                         4     listed as king?
 5   Q. What's the number of this? I'd like to           5   A. There are a number listed as king. I agree
 6     direct your attention, if I may, to               6     with that.
 7     Exhibit Number 6.                                 7   Q. Do you see there's then one listed as
 8           MR. GALLAGHER: Are you done with            8     regular?
 9     the -- done with advertisements?                  9   A. Well, there's one listed in this taxonomy
10           MR. GROSSMAN: No, it's all going           10     with the terms, Reg.
11     to be together.                                  11   Q. Yes. That's the Camel non filtered?
12           MR. GALLAGHER: I want to keep them         12   A. Is that what NF means?
13     out.                                             13   Q. Yes, it is.
14   Q. Could you please look at Exhibit Number 6?      14   A. I will accept your representation that NF
15   A. Which one is that?                              15     means non filtered.
16   Q. That is the FTC Tar, Nicotine and Carbon        16   Q. Could you look with me at page --
17     Monoxide report issued in the year 2000.         17   A. However, there are -- well, go ahead.
18   A. Exhibit 5 or Exhibit 6?                         18   Q. Page 16.
19   Q. Let me see and I'll tell you. Exhibit 5.        19   A. Also at the top?
20     Yes, this was the one we substituted in.         20   Q. At the top. Toward the middle of the page
21     Look at Exhibit 6.                               21     do you see the Lucky Strikes?
22   A. Look at Exhibit 6?                              22   A. I see Lucky Strike.
23   Q. Yes.                                            23   Q. Do you see the first one is regular, listed
24   A. Thank you.                                      24     as regular non filtered?
25   Q. Doctor Hauser, I'd like to direct your          25   A. I again see a table on page 16 here. I see
                                                                               17 (Pages 390 to 393)
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                                               Page 394                                                Page 396
 1     Lucky Strike in the first column. I see Reg         1     first.
 2     in the second column.                               2   Q. Have you ever asked any consumer what he or
 3   Q. And beyond that there are Lucky Strikes            3     she understands by the term, Camel regular?
 4     listed as king, and those have filters?             4   A. As part of this litigation I have not asked
 5   A. I see the three other listed as Lucky              5     any consumer what he or she means by --
 6     Strike. They appear to have asterisks after         6     which was it again?
 7     them. I do not know what the asterisks              7   Q. Camel regular?
 8     mean. In the second column there's the              8   A. Camel regular, however, as you know there
 9     word, king, and in the third column there is        9     were qualitative interviews and pre-tests
10     the letter, F.                                     10     that were done by my team upon which I've
11   Q. One more. Could you look with me at               11     been briefed.
12     page 21 in the upper right-hand corner?            12   Q. If consumers understand regular to refer to
13   A. Oh, I'm on the page. Sorry.                       13     an unfiltered cigarette, as a
14   Q. Do you see almost at the bottom there's --        14     hypothetical --
15     there are a number of cigarettes called            15   A. Okay, one more. Let me write it down. So
16     Pall Mall?                                         16     now we have assume consumers regular equals
17   A. Yes, in the first column there are one, two,      17     what?
18     three, four, five, six, seven Pall Mall.           18   Q. Regular equals short, unfiltered cigarette.
19     Two of these have asterisks. I still do not        19   A. Short. That's pure hypothetical because
20     know what the asterisks mean.                      20     that's not the case, but go ahead.
21   Q. The last one says, regular non filtered? Do       21   Q. Doctor, if consumers understand -- as a
22     you see that?                                      22     predicate question -- your survey, in more
23   A. The last one in this taxonomy has Reg in the      23     than one place, asks consumers to compare
24     second column and has NF in the third              24     the risks of what are referred to as light
25     column.                                            25     cigarettes and what are referred to as
                                               Page 395                                                Page 397
 1   Q. Doctor Hauser, have you undertaken any study       1   regular cigarettes, isn't that correct?
 2     to determine whether the term, regular, as          2 A. Yes. Those words are chosen within the
 3     it is used in cigarette advertising as it's         3   context of the survey in the context of the
 4     used by the FTC or as it's used by cigarette        4   questions that are being asked, and I'm
 5     companies, refers to 70-millimeter                  5   confident that the pre-test and the
 6     cigarettes most, but not all of which, are          6   qualitative interviews indicate that
 7     non filtered?                                       7   consumers understood the context of those
 8            MR. GALLAGHER: Objection to the              8   words.
 9     form. Lack of foundation.                           9 Q. Move to strike the latter part as
10   A. I have not done a systematic study of the         10   unresponsive. Doctor Hauser, if consumers,
11     taxonomy used by the FTC nor am I providing        11   and I understand that you believe otherwise,
12     an expert opinion in this case about               12   but if consumers understand the term,
13     cigarette advertising.                             13   regular, to apply to unfiltered cigarettes,
14   Q. As we sit here today you have made no study       14   then the comparison that they were -- that
15     to determine whether smokers of cigarettes         15   they make in health risks of light
16     understand the term, regular, when it's            16   cigarettes and so-called regular cigarettes
17     applied to cigarettes, to mean short,              17   would not be applicable to the comparison of
18     unfiltered cigarettes, is that correct?            18   their perception of the health risks of
19   A. That is not correct.                              19   light cigarettes with full flavored filtered
20   Q. Have you ever asked any consumer what his or      20   cigarettes, is that correct?
21     her understanding is of the term, Camel            21         MR. GALLAGHER: Objection to the
22     regular?                                           22   form.
23            MR. GALLAGHER: Him, personally, or          23 A. Very complicated question which includes a
24     as part of a study, just to clarify?               24   hypothetical that I do not accept.
25            MR. GROSSMAN: I'll break it down            25   Furthermore, we are talking -- you're making
                                                                               18 (Pages 394 to 397)
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                                              Page 414                                                  Page 416
 1   health risks was second most important for           1   between the maximum partworth for that
 2   an additional approximately 58 percent, so           2   feature and the minimal partworth for that
 3   the 58 plus the 18 is now getting into the,          3   feature. Having now made that definition so
 4   you know, large majority of consumers for            4   I can be perfectly clear, I am quite happy
 5   which health risk is ranked either first or          5   to say that -- not happy to say -- that's
 6   second.                                              6   not happy. I am accurately reporting that
 7 Q. For the typical consumer of light                   7   18.4 percent of these consumers find health
 8   cigarettes, health risks are the most                8   risk to be the most important; therefore,
 9   important factor -- let me -- I'll start the         9   100 minus 18.4 which is 81.6 percent of the
10   question again. For the typical purchaser           10   consumers find one of the other four
11   of light cigarettes, health risks are not           11   features to be more important than health
12   the most important factor in choosing their         12   risks.
13   brand and type of cigarette.                        13 Q. Doctor, in your survey before asking
14 A. Again, defining importance as the difference       14   consumers to make choices upon which
15   between the maximum partworth for that              15   partworths were measured, you asked
16   feature and the minimum partworths for that         16   consumers on a numerical scale to compare
17   feature. Again, just so we're making sure           17   the risks of light cigarettes with what you
18   of the technical definition here, then for          18   referred to as regular cigarettes, is that
19   18.4 percent of the respondents, health risk        19   correct?
20   is the most important. It's the second most         20 A. Okay, let's -- yes, there was a numerical
21   important for approximately 58 percent and a        21   scale, but so that we can facilitate the
22   third of four for approximately 22 percent          22   questioning, let's get to that exact
23   so, you know, I'm answering the question            23   numerical scale in the survey. Okay, we're
24   because I want to be as technically accurate        24   talking about health risks?
25   as possible to avoid any misinterpretation          25 Q. Yes.
                                              Page 415                                                  Page 417
 1     of the numbers.                                    1   A. Yes. So this is page E19 of Exhibit 7.
 2   Q. You've given opinions in other class actions      2   Q. You asked respondents to rate what they
 3     about predominance and typicality, correct?        3     perceive to be the health risks of light
 4   A. Predominance and typicality, I understand,        4     cigarettes compared to regular cigarettes on
 5     are legal terms. I'm not providing a legal         5     a scale of zero to 150 and one to 150 where
 6     opinion here. I am testifying as to the            6     100 equals the risk of a regular cigarette,
 7     veracity of the -- the reliability and             7     is that correct?
 8     validity of the survey and I'm also                8   A. That's -- let me just make that technically
 9     testifying to what the results of those mean       9     correct. It's a scale of zero to the top
10     in terms of percentage of consumers who have      10     point is 150 plus, and the respondents then
11     certain opinions. I leave it to counsel to        11     can enter a number between zero and
12     turn this into a legal filing.                    12     essentially anything they want, the high
13   Q. Given four factors and only four to consider     13     end. I do not recall whether anybody
14     as to the choice of cigarettes, those             14     entered higher than 150, but yes, we did use
15     factors being box or pack, health risks,          15     this scale.
16     price and perceived taste, the overwhelming       16   Q. And your tabulation of the responses shows
17     majority did not choose perceived health          17     that approximately 40 percent of all
18     risks as the most important factor in their       18     respondents valued light cigarettes on that
19     choice, correct?                                  19     scale as being 100 or higher, is that
20            MR. GALLAGHER: Objection. Asked            20     correct?
21     and answered.                                     21           MR. GALLAGHER: Objection to the
22   A. Again, just so we have a technical statement     22     form.
23     here and I really want to make clear this so      23   A. Well, it depends what you mean by
24     I can answer the question as accurately as        24     approximately 40 percent, but the actual
25     possible. Here importance is the difference       25     numbers can be calculated. On this scale I
                                                                                23 (Pages 414 to 417)
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                                               Page 418                                                Page 420
 1     believe it was about 38 percent, maybe a            1   than the health risks of regular cigarettes
 2     little bit less, indicated 100, and then            2   at the time of the survey which is again
 3     there was a much smaller percentage that            3   spring of 2005.
 4     indicated a number higher than 100, and this        4         I do not know prior to the -- from
 5     was their perceptions at the time of the            5   the conjoint analysis I do not know whether
 6     survey which was in the spring of 2005.             6   they held different beliefs prior to that
 7   Q. Doctor, just for clarity, over 38 percent of       7   survey.
 8     all of the respondents value the health             8 Q. Fine, but more than 38 percent viewed light
 9     risks --                                            9   cigarettes at the time of the survey as
10   A. Well, let's say over 37. That's what I do         10   being as dangerous or more dangerous than
11     remember.                                          11   so-called regular cigarettes, correct?
12   Q. Over 37 percent of all the respondents wrote      12 A. As I've indicated, slightly over 60 percent
13     the number 100. Isn't that correct? It's           13   which is 100 minus 38 or whatever, you can
14     37.16 percent wrote the number 100, isn't          14   do the arithmetic just as well as we can,
15     that correct?                                      15   perceived light cigarettes as being less
16   A. I really wish you would use positives in the      16   unhealthy than regular cigarettes and, of
17     questions; it would be so much easier.             17   course, the complement of that, 100 minus
18     Would be done quicker.                             18   that number would perceive the opposite at
19   Q. I'll rephrase the question. Over 37 percent       19   the time of the survey.
20     of the respondents to your survey wrote the        20         MR. GROSSMAN: Okay, we have to
21     number 100 in the comparison of the risks of       21   change the tape. Why don't we take a
22     light cigarettes and so-called regular             22   five-minute break? While you're changing
23     cigarettes, correct?                               23   the tape, I want to stay on the written
24   A. It is correct that at the time of the             24   record for one moment. Paul, the data that
25     survey, which was spring, 2005, and again          25   you --
                                               Page 419                                                Page 421
 1     I'm trying to remember the exact number. I          1         MR. GALLAGHER: Ted, I really need
 2     don't have it in front of me, but it is the         2   to use the restroom.
 3     ball park of 37 percent of the respondents          3         MR. GROSSMAN: Okay.
 4     answered -- wrote down 100 in this box.             4         (Brief Recess.)
 5   Q. And another group comprising something over        5 Q. Doctor Hauser, when we took the break you
 6     one percent of the respondents, wrote               6   had discussed a number of people who had
 7     numbers over 100, correct?                          7   valued in your survey the health risks of
 8           MR. GALLAGHER: Objection to the               8   light cigarettes as being equal to or
 9     form.                                               9   greater than the health risks of so-called
10   A. At the time of the survey, which was spring       10   regular cigarettes.
11     of 2005, there were a small percentage of          11         Notwithstanding that, under your
12     respondents, I do not recall whether it was        12   partworth analysis, you conclude that over
13     slightly over or slightly under one percent,       13   90 percent of light cigarette smokers
14     wrote a number higher than 100 in this box.        14   suffered economic damage because they valued
15   Q. So when asked directly, something over            15   health risks of light cigarettes as higher
16     38 percent of all the respondents viewed           16   than the perceived -- let me -- I will start
17     light cigarettes as being as dangerous or          17   that over.
18     more dangerous than so-called regular              18         Doctor, inasmuch as you found in
19     cigarettes, correct?                               19   answers to direct question that more than
20   A. Well, what we're saying is that                   20   38 percent of all respondents valued the
21     approximately 60 percent, a little bit             21   health risks of light cigarettes as being
22     under, a little bit more -- a little bit           22   equal to or greater than the health risks of
23     more than 60 percent -- a little bit more          23   regular cigarettes, your calculation of
24     than 60 percent of the people viewed the           24   damages excluded that group of over
25     health risks of light cigarettes to be less        25   38 percent as having no damages at all.
                                                                               24 (Pages 418 to 421)
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                                       58604
                                              Page 422                                                  Page 424
 1     Isn't that right?                                  1   A. Third line on page 22.
 2            MR. GALLAGHER: Objection to the             2   Q. "For 90.1 percent of the 627 respondents,
 3     form.                                              3     this difference was positive, indicating
 4   A. I'm providing an expert opinion with respect      4     that, given the choices made by respondents
 5     to the survey and the responses of the             5     who answered the survey, the best estimate
 6     survey. I have not yet been asked to               6     of their importance for health risks is
 7     provide any economic assessment of the             7     positive." Correct?
 8     damages.                                           8   A. That's what this report says and that's my
 9   Q. Well, for that person who did, Doctor             9     opinion.
10     Harris, Doctor Harris was not provided with       10   Q. Your opinion is that approximately
11     the responses of the survey participants to       11     90 percent of light smokers view health
12     the question that asked them to value the         12     risks -- let me rephrase that question.
13     health risks of light cigarettes against the      13     It's your opinion that approximately
14     health risks of regular cigarettes on a zero      14     90.1 percent of smokers of light cigarettes,
15     to 150 plus scale, isn't that correct?            15     if given a choice between two identical
16   A. I am unaware of all of the documents that        16     cigarettes, except for health risks, would
17     Doctor Harris was or was not provided.            17     prefer the cigarette that was safer,
18   Q. Who made the decision as to which documents      18     correct?
19     Doctor Harris would be provided with?             19   A. What this says is that for -- my best
20   A. Are you asking me to speculate?                  20     estimate is that 90.1 percent of the
21   Q. I'm asking you if you know.                      21     respondents, if given the choice between two
22            MR. GALLAGHER: Don't speculate.            22     otherwise totally identical cigarettes, one
23     If you know, Doctor.                              23     of which had less health risk and the other
24   Q. I'm asking you if you know who made that         24     of which had more health risk, then they
25     decision?                                         25     would value that choice and choose the one
                                              Page 423                                                  Page 425
 1   A. I do not know what documents Doctor Harris        1   with less health risk.
 2     requested, nor do I know what documents he's       2          Now there's the other ten percent.
 3     been provided.                                     3   I can't recall which of those would go the
 4   Q. Who transmitted the documents to Doctor           4   other way or which of those just would be
 5     Harris to the best of your knowledge?              5   indifferent.
 6           MR. GALLAGHER: Objection to the              6 Q. Why would anyone presented with two
 7     form.                                              7   otherwise identical cigarettes not prefer
 8   A. Which documents are you referring to?             8   the safer cigarette?
 9   Q. Any documents relating to your partworth          9          MR. GALLAGHER: Objection to the
10     study to your questionnaire.                      10   form.
11           MR. GALLAGHER: Objection to the             11 A. Well, there were a few people in here --
12     form.                                             12   it's a very small number -- which might be
13   A. I do not know who transmitted the                13   considered error and we indicated there's
14     information to Harris with respect to the         14   always going to be a few of those within any
15     conjoint analysis study other than what he        15   survey, and that's why we have to deal with
16     asked me directly, so I don't want to             16   the vast majority of these, and it might
17     speculate as to who would have provided that      17   also be that there are other reasons that I
18     information.                                      18   would just have to speculate upon, but with
19   Q. Now in your opinion you say that for 90.1 of     19   the quantitative number per se is that we
20     the -- page 22.                                   20   came up with a very, very small number who
21   A. Exhibit?                                         21   appeared to be placing positive or negative
22   Q. Exhibit Number 1, page 22.                       22   value on health risk, very small number
23   A. Page 22.                                         23   which could be within surveyor.
24   Q. You say in the beginning of the end of the       24 Q. In so doing those people were not comparing
25     third line --                                     25   the perception of health risks of light
                                                                               25 (Pages 422 to 425)
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                                               Page 426                                                  Page 428
 1      cigarettes as they're marketed and regular         1     saying. Might be taste, might be price,
 2      cigarettes so-called as they're marketed           2     might be pack size, but basically 90 percent
 3      which was asked in a different question on         3     of the people have positive value,
 4      your questionnaire, but rather were                4     significant positive -- well, I'm sorry, in
 5      evaluating whether they gave any value to          5     this case it's just positive value. They
 6      health risks at all, is that correct?              6     have positive value on health.
 7            MR. GALLAGHER: Objection to the              7   Q. And that positive value is not the positive
 8      form.                                              8     value that they perceived to be the
 9    A. Well, you put in a predicate there that           9     difference between the cigarettes that they
10      wasn't quite technically accurate. Now if         10     actually smoke and regular cigarettes as
11      you can re-ask the question either without        11     marketed in the marketplace, is that
12      that predicate or --                              12     correct?
13    Q. Which predicate are you preferring to?           13           MR. GALLAGHER: Objection to the
14    A. Well, the predicate that says as marketed,       14     form.
15      and that just didn't feel right, and I found      15   A. That's not correct.
16      the question a little bit confusing in the        16   Q. Okay. Let me rephrase the question.
17      way you asked it, so I want to be very            17     Included within that 90 percent are people
18      careful when I answer the question that I         18     who, in fact, view light cigarettes to be at
19      want to answer a well-phrased question that       19     least as dangerous as regular cigarettes.
20      I understand.                                     20           MR. GALLAGHER: Objection to the
21    Q. In your questionnaire you asked respondents      21     form.
22      to compare hypothetical cigarettes, not           22   A. Respondents in the survey answered that they
23      cigarettes that are actually marketed,            23     perceived, at the time of the survey, and
24      correct?                                          24     we've gone over these percentages before,
25            MR. GALLAGHER: Objection to the             25     but a certain number of these people and we
                                               Page 427                                                  Page 429
 1   form.                                                 1     can go back and take a look at those
 2 A. The conjoint analysis task describes                 2     percentages, if need be, at the time of the
 3   cigarettes as profiles. Some of these are             3     survey perceived that the health risks of
 4   hypothetical cigarettes. Some of those that           4     light cigarettes are the same as to health
 5   responded may recognize as their existing             5     risks of regular cigarettes, and so some of
 6   brand, but we are predicated upon the                 6     those people would be included within the
 7   cigarette they're smoking, and then we do             7     90 percent who, when faced with a choice of
 8   vary these four characteristics as I've               8     a cigarette that was, say, less unhealthy,
 9   testified at great length yesterday and               9     would, in fact, be willing to choose -- not
10   today.                                               10     only choose the less unhealthy cigarette,
11 Q. And in that regard you -- even for people           11     but they would be willing to give up other
12   who viewed light cigarettes as being just as         12     aspects, compensatory attribute to get that
13   risky as so-called regular cigarettes, even          13     better health risk as they perceive it.
14   such people might prefer a healthier                 14   Q. Doctor, we've gone over the four factors
15   cigarette if they didn't have to give up             15     that were measured. One of the factors that
16   anything in taste or price or package, is            16     was not measured -- one factor that was not
17   that correct?                                        17     measured was brand, correct?
18          MR. GALLAGHER: Objection to the               18   A. We've gone over this again and again and
19   form.                                                19     again.
20 A. Well, I think what we're finding is that for        20   Q. That's it.
21   approximately 90 percent of the people, if           21   A. And as I've indicated, consumers were to
22   they could get better health or less health          22     consider the brand they were currently using
23   risk, if they could get less health risks            23     and light cigarette they were currently
24   then they would be willing to give up some           24     smoking.
25   things to get that, and that's what we're            25   Q. There is no where in your study where you
                                                                                 26 (Pages 426 to 429)
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                                              Page 446                                                  Page 448
 1   it was asked, so I cannot make an opinion on         1   survey with respect to smoking cessation
 2   whether the question was asked correctly,            2   other than as we've so testified. You've
 3   whether it was two-sided or any other                3   now shown me a Gallup poll which I have not
 4   appropriate things, so as a result I cannot          4   had a chance to study the methodology on.
 5   provide an opinion with respect to this              5   You have also shown me some data from
 6   question.                                            6   Greenfield also which I have not had the
 7         MR. GROSSMAN: Mark this as 21.                 7   chance to study methodology on, so these two
 8         (Poll Releases marked                          8   may or may not be consistent, and I have no
 9          Exhibit Number 21.)                           9   opinion on that until I have a chance to
10 Q. Doctor Hauser --                                   10   study this and I also, which I think is the
11         MR. GALLAGHER: Let's make this the            11   final part of your question, I have not
12   last exhibit before lunch, please.                  12   provided an expert opinion with regard to
13 Q. Doctor Hauser, I hand you what's marked for        13   smoking cessation in this case, and I have
14   purposes of identification Hauser Exhibit 21        14   not undertaken any studies with respect to
15   which is a release of the Gallup Poll,              15   smoking cessation that I can recall.
16   November 18, 1999, and I would like to              16 Q. And you're not offering any opinion with
17   direct your attention, if I may, to the             17   regard to the number of smokers of light
18   third page where Gallup gives historic              18   cigarettes who continued to smoke in
19   results on the question, "All things                19   reliance on the health characteristics of
20   considered, would you like to give up               20   low tar cigarettes, correct?
21   smoking or not?"                                    21 A. I'm sorry. I really must apologize here. I
22         MR. GALLAGHER: Have you had an                22   just wanted to take a quick look at these
23   opportunity to take a look at the document,         23   documents that you put in front of me, so
24   Doctor Hauser?                                      24   I -- go ahead.
25         THE WITNESS: No, I have not and I             25          MR. GALLAGHER: Listen to his
                                              Page 447                                                  Page 449
 1      don't know if I'm going to be able to do          1     question.
 2      this before one o'clock.                          2   A. Listen to your question so if you could
 3            MR. GALLAGHER: Well, go ahead and           3     please re-ask it.
 4      ask your question.                                4   Q. You're offering no opinion --
 5    Q. Okay, I'll ask the question. We'll see.          5   A. And --
 6      Have you made any study of public polling to      6   Q. I'll start it again. You were offering no
 7      determine the extent to which smokers             7     opinion as to the number of smokers of light
 8      indicate an interest in stopping smoking?         8     cigarettes who continued to smoke in
 9            MR. GALLAGHER: Again, I object to           9     reliance on the health characteristics of
10      the form.                                        10     low tar or other light cigarettes, correct?
11    A. I have indicated many times I am not            11            MR. GALLAGHER: Objection to the
12      providing an expert opinion in this case         12     form to the extent that it calls for a legal
13      with respect to smoking cessation.               13     conclusion. Go ahead, Doctor Hauser.
14    Q. Beyond that have you made any effort to         14   A. I have not completed a study in this case
15      compare the results of your questionnaire        15     nor have I begun a study in this case of
16      with any public poll that has ever been          16     smoking cessation.
17      conducted and published to determine whether     17   Q. And your conjoint analysis does not purport
18      your responses to the questionnaire are          18     to measure out-of-pocket expenses or
19      within the same range as those determined by     19     out-of-pocket damages that may have been
20      public polls that were commissioned for          20     suffered by light cigarette smokers, is that
21      purposes other than litigation?                  21     correct?
22            MR. GALLAGHER: Objection to the            22            MR. GALLAGHER: Objection to the
23      form.                                            23     form. Again, legal conclusions. Go ahead,
24    A. Well, let me first say that as you have         24     Doctor Hauser.
25      indicated there are no questions on my           25   A. As I've indicated, I am testifying as an
                                                                               31 (Pages 446 to 449)
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                                               Page 454                                                 Page 456
 1   Stanford, whether it was students or whether          1   digitiling, which we defined yesterday and
 2   it was faculty members, and as far as I can           2   based upon that they were then going to
 3   tell they do not provide explicit reference           3   provide their samplests with web TV as a
 4   to the study, and the contact person is the           4   means of answering internet panels.
 5   vice president of marketing communications            5         Now I do know from the people that
 6   at Knowledge Networks.                                6   I once knew at Knowledge Networks they just
 7 Q. If you look on the last page they say the            7   weren't able to make that work, and they
 8   source of their information in the box is             8   started losing a lot of business because
 9   "Comparing the results of probability and             9   basically the market research industry was
10   non-probability sample surveys presented at          10   not convinced of the adequacy of the
11   the 2005 AAPOR conference."                          11   Knowledge Networks panel.
12 A. So in other words what they're referencing          12         Now I have not tracked Knowledge
13   is a verbal presentation which we have no            13   Network since then, so I do not know if
14   way of verifying, and they do not indicate           14   Knowledge Networks has, in fact, recovered
15   either who made that presentation or whether         15   from the trouble that they were in at that
16   or not a Knowledge Networks person was a             16   time, and that was back in oh, I think it
17   coauthor of that presentation, and curiously         17   was about 2001, 2002 when they had a major
18   they do not indicate any of the marketing            18   defection of the head of -- basically the
19   faculty at Stanford having been involved.            19   chief scientist and the head of R and D
20 Q. Prior to your engagement of Greenfield              20   defected from Knowledge Networks because
21   Online to compile the panel that was used in         21   they were uncomfortable with this, and I do
22   this case, did you make -- did you undertake         22   not know whether or not this is in response
23   any research to compare the validity of the          23   to some of the problems that Knowledge
24   samples aggregated by Greenfield with the            24   Networks was having.
25   validity of samples aggregated by Knowledge          25 Q. I'm not asking for a testimonial on behalf
                                               Page 455                                                 Page 457
 1      Networks, GoZing, Harris Online, SSI or            1     of Knowledge Networks. I'm just asking
 2      Survey Direct?                                     2     whether some internet-based companies --
 3    A. Would you please clarify what you mean by         3     internet research providers obtained their
 4      aggregated?                                        4     panels based upon sampling and others
 5    Q. Greenfield presented you with a panel among       5     obtained their panels based upon volunteers?
 6      whom your survey was taken. Is that                6   A. What I do know is that prior to
 7      correct?                                           7     approximately 2001 Knowledge Networks had a
 8    A. Greenfield presented us with a potential set      8     plan to obtain their sample -- their
 9      of respondents from whom we sampled with           9     internet sample from random digit dialing.
10      stratification to 72 different categories.        10     I do not know if that continues today. This
11      Now I note that there's absolutely nothing        11     sort of seems -- this document, which is a
12      in this document that you've given to me          12     press release, seems to imply that they
13      that deals at all with stratification or          13     continue that today, so I do not know if
14      with the fact that such stratification will,      14     Knowledge Networks has been able -- has
15      in fact, enhance to the representativeness        15     found a way in which to make that work.
16      of the survey, so what you've presented me        16   Q. Okay. Greenfield Online obtains its panels
17      with is an analysis of alternative                17     through volunteers, is that correct?
18      methodologies on the raw sample without           18   A. Greenfield Online is primarily an opt in
19      these various stratifications.                    19     panel as has been appropriate in terms of
20    Q. Some Online service providers develop their      20     the change in basically the way surveys are
21      panels through sampling and others through        21     done over the last five or six years with
22      volunteering, correct?                            22     the -- basically opt in being one of the
23    A. Well, what I do know is that originally          23     best way to get panels.
24      Knowledge Networks had an attempt that they       24   Q. Every person who participated in your survey
25      were going to use RDD sampling, random            25     online had volunteered to participate in
                                                                                33 (Pages 454 to 457)
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                                            Page 458                                                  Page 460
 1   Greenfield Online surveys, is that correct?        1   reviewed it online which describes just a
 2 A. Every survey that's done, the respondent is       2   variety of methods that Greenfield uses.
 3   presented with an option, and that option          3          Now once we have that I felt
 4   could be to complete that survey or not            4   necessity to do a stratified sampling to
 5   complete the survey, so if the person, in          5   bring it back in line with demographic
 6   fact, has completed the survey that we ask         6   variables, and from my experience I know
 7   them to complete, then I guess you can say         7   such stratification has a very high
 8   that that's volunteering, but we took again        8   probability of bringing things back in line
 9   the methodology which you seem to be               9   to be representative.
10   slightly mischaracterizing is we randomly         10 Q. And every person who was included in your
11   sample for Greenfield. We then did a              11   627 respondents was paid by Greenfield
12   stratification. We then invited people. We        12   Online for participating in the survey,
13   sought these people out, and we invited them      13   isn't that correct?
14   to complete our survey, so it's not fully         14 A. As I have indicated in my survey, we gave
15   volunteering.                                     15   people incentives. They were offered $5 to
16 Q. Doctor Hauser, the way these people were         16   complete the survey, and basically these
17   chosen by Greenfield Online in the first          17   incentives are just incentives to complete
18   place was that these people volunteered to        18   the survey, and I found that there's no bias
19   participate not only in one survey, but in a      19   from past experience with using incentives.
20   series of surveys for Greenfield Online,          20   Some surveys will go quite a bit more
21   isn't that correct?                               21   than $5.
22          MR. GALLAGHER: Objection to the            22 Q. There was also, in addition to $5 payment,
23   form. Asked and answered.                         23   to every person there was also a sweepstakes
24 A. You know, you're using the word, volunteer,      24   in which participants could obtain something
25   here. Now volunteer, if you'd like to             25   more valuable than $5, is that correct?
                                            Page 459                                                  Page 461
 1   define what you mean, do you mean the              1   A. Yes, there was a sweepstakes, although the
 2   procedure by which Greenfield used? Now            2     suspected value of that sweepstakes is, to
 3   it's not that these people are saying Gee, I       3     the best of my knowledge, less than $5.
 4   want to take your surveys, and they're not         4   Q. Doctor, let me hand you what I'll have
 5   coming out of the blue.                            5     marked for identification as Exhibit 23.
 6          Greenfield is doing a various set           6           (Screening Statistics
 7   of things, set of activities to recruit            7            marked Exhibit Number 23.)
 8   people to join their panels and everyone is        8   Q. Doctor, here is Exhibit 23. Marked for
 9   given the option of being in that panel, and       9     identification purposes. It's a copy of
10   that same thing is true with Knowledge            10     your Screening Statistics.
11   Networks.                                         11           MR. GALLAGHER: Exhibit F.
12          They just use a different way of           12           MR. GROSSMAN: Exhibit F. I'm
13   recruiting people to join their networks          13     sorry. Correct.
14   also Knowledge Network panels, they have the      14   Q. You indicate on this that Greenfield Online
15   option to join or not join.                       15     sent out 52,402 invitations and that 44,159
16 Q. How does Greenfield review its panel?            16     people did not respond to the invitation?
17 A. Greenfield, to the best of my recollection,      17   A. Yes.
18   and I did review this, but again we don't         18   Q. Now in Exhibit 22 which was the press
19   want to rely entirely on my recollection is       19     release by Knowledge Networks on the last
20   they use a whole series of methods. Some of       20     page they show a cooperation rate among
21   these include internet invitations, and I         21     research vendors.
22   can't remember all of the other means. It's       22   A. Yes.
23   described and I think it's in the documents       23   Q. And they suggest that 73 percent of the
24   you may have been given if we had those. I        24     people who they contact agree to participate
25   don't remember if we had them. I certainly        25     in their surveys?
                                                                              34 (Pages 458 to 461)
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                                                Page 466                                                  Page 468
 1      respect to Greenfield.                              1     more than 30 surveys with those who
 2    Q. I'd like to direct your attention to two           2     completed less than 30 surveys.
 3      paragraphs. First, on page three do you see         3   Q. When did you undertake to make those
 4      where it says incentives?                           4     calculations?
 5    A. Yes.                                               5   A. I undertook to make those calculations
 6    Q. Just below that there's a line that begins         6     within the last week or so.
 7      optimizing response rates?                          7   Q. Okay. So at the time the survey was
 8    A. Optimizing response rates.                         8     conducted in June, 2005, you made no effort
 9    Q. Okay. I'll read it. "Optimizing response           9     to determine whether any of the people
10      rates, retention and panel depth requires a        10     taking the survey could be characterized
11      certain level of engagement that goes beyond       11     as professional survey takers, is that
12      cash rewards. Thus our help desk staff adds        12     correct?
13      value to our relationship. We make sure our        13            MR. GALLAGHER: Objection to the
14      panelists receive enough survey                    14     form.
15      opportunities to stay engaged, but at the          15   A. You've now introduced a term, professional
16      same time our guidelines manage exposure to        16     survey takers, but --
17      surveys and remove panel members from the          17   Q. I'll rephrase the question. In June of 2005
18      pool for a specified time after every              18     you made no effort to determine how many
19      completed survey. This discourages                 19     people in the panel offered by Greenfield
20      so-called professional survey takers from          20     had, in fact, taken more than 30 surveys
21      unfairly weighting the sample." Do you see         21     with Greenfield, is that correct?
22      that?                                              22   A. At the time I did the survey that
23    A. I see what you've read into the record, yes.      23     information was not available to me. After
24    Q. Are you familiar with the term, professional      24     that information became available to me I
25      survey takers?                                     25     immediately did the calculations.
                                                Page 467                                                  Page 469
 1    A. I've heard it used before, but this appears        1   Q. When did that information become available
 2      to be Greenfield's statement.                       2     to you?
 3    Q. Greenfield is --                                   3   A. That information became available to me
 4    A. However, there is no indication and                4     relatively recently.
 5      certainly something we can look at as to            5   Q. How did that information become available to
 6      whether a professional survey taker would be        6     you?
 7      at all different with respect to the                7   A. I was looking through the documents that you
 8      variables of interest relative to anybody           8     had been provided and saw compilation,
 9      else.                                               9     something -- I don't know. I think it might
10    Q. We were provided with a calculation that I        10     have been this which is Exhibit 20.
11      gather you did to determine whether people         11   Q. Yes.
12      who might be characterized as professional         12   A. And I looked at that and I said, Well, we
13      survey takers answered the questions on this       13     have one variable; let's at least check to
14      survey differently than people who had taken       14     see if that variable affects anything.
15      fewer than 30 surveys. Are you familiar            15   Q. In fact, when you say materials that I had
16      with that calculation? Do you recall having        16     been provided, you're referring to the
17      made that calculation?                             17     materials that AMS had provided to
18    A. Well, you've put a predicate in that, and I       18     defendants in this case, is that correct?
19      don't accept a predicate.                          19   A. These are materials that AMS had provided.
20    Q. Did you make a calculation comparing the          20   Q. These are materials -- how long did AMS have
21      responses of people who had completed more         21     these materials? When did AMS receive these
22      than 30 surveys with Greenfield and those          22     materials?
23      who had completed fewer than 30 surveys?           23   A. I do not know how long AMS had these
24    A. Yes, I have completed a series of                 24     materials.
25      calculations to compare people who answered        25   Q. And why did you undertake to -- why did you
                                                                                 36 (Pages 466 to 469)
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                                               Page 474                                                 Page 476
 1    Q. Among the survey respondents, the median was      1     then -- when it came to light that there
 2      31 completed surveys and the mean was 73, is       2     were panelists who had taken a number of
 3      that correct?                                      3     surveys, I did median split analysis to
 4    A. I recall that the median was approximately        4     determine whether or not that changes my
 5      30. I do not recall the mean. Now the mean         5     opinions, and as you know from looking at it
 6      is not a robust statistic and it could be          6     there is a slight change in the opinions,
 7      led by -- it could be driven by one or two         7     and I'm quite happy to provide that.
 8      people with very high numbers. The more            8   Q. Doctor, let me --
 9      robust and more appropriate statistic is the       9   A. Do you wish me to?
10      median.                                           10   Q. Not at this time. I plan to go back to it
11    Q. Well, almost 51 percent of the respondents       11     when I have an opportunity, but I'm running
12      had completed more than 30 surveys, is that       12     out of time. Doctor, let me just address
13      correct?                                          13     one more thing, and then I'm going to hand
14    A. By the way, you're saying completed 30           14     this over to Murray Garnick and I'll make a
15      surveys. Within what period of time?              15     statement before I do.
16    Q. We don't know. Do you know during what           16           In earlier testimony you clarified
17      period of time the surveys were completed         17     you made no effort to study the
18      within?                                           18     communications between cigarette companies
19    A. My understanding, and I can't remember the       19     and smokers of light cigarettes. Do you
20      answer to this. I probably should have            20     recall that?
21      written it down, but it's the number of           21   A. I have paid no -- providing no expert
22      surveys since joining the panel and, for          22     opinion on the advertising of cigarette.
23      example, if we look at this respondent            23   Q. And you're providing no expert opinion on
24      103898, joined the panel in the beginning of      24     the sources of information that consumers
25      1999, so that person would have been in the       25     relied upon in choosing light cigarettes, is
                                               Page 475                                                 Page 477
 1      panel '99, 2000, one, two, three, four,            1   that correct?
 2      five -- this is his eighth year on the             2          MR. GALLAGHER: Objection. Asked
 3      panel, so that says that that person is            3   and answered.
 4      taking eight years times 12 months, so less        4 A. I've answered that before, but I am not
 5      than one survey a month.                           5   providing an expert opinion with respect to
 6    Q. Isn't one of Greenfield's guides that people      6   the source of information that consumers
 7      will not stay on the panel for more than two       7   used when they made their decision to
 8      years?                                             8   initially begin smoking light cigarettes.
 9    A. I don't recall that.                              9 Q. Okay. And you're offering no expert
10    Q. You haven't studied that?                        10   testimony, offering no expert opinion on the
11    A. That's a misstatement. I said I do not           11   percentage of light smokers who purchased
12      recall it. I did not say I haven't studied        12   light cigarettes in reliance on anything
13      that.                                             13   ever said by cigarette companies, is that
14    Q. Doctor, high quality online service              14   correct?
15      companies engaged in market research, survey      15 A. That is not correct.
16      research, make efforts to avoid the               16          MR. GALLAGHER: Objection to form.
17      so-called dreaded survey professional survey      17   Asked and answered.
18      taker, is that correct?                           18          MR. GROSSMAN: I have a great deal
19             MR. GALLAGHER: Objection.                  19   more questions to ask. I have a great deal
20    A. That's something that you have just read         20   more ground to cover. I've covered about
21      from this into the record. I, you know,           21   roughly half of my outline. As I've noted
22      this is a statement that are made in sales        22   throughout, I've found the answers to be
23      materials. I made a judgment that I felt          23   non-responsive and long and I will be
24      that from Greenfield we could do a                24   needing more time to complete this, but in
25      subselection of that -- of the panelists. I       25   deference to my colleagues I'm going to turn
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                                                 Page 482                                                  Page 484
 1      your expert report from last August. Let me          1   Q. Well, would it be correct for me to conclude
 2      ask you to turn to paragraph ten. In                 2     from your statement here on paragraph ten
 3      paragraph ten you conclude that "Health              3     that you've determined that 90 percent of
 4      risks are a positive contributing factor in          4     light cigarette consumers would not have
 5      the choice of light cigarettes for 90.1              5     purchased lights if they had perceived
 6      percent of light cigarette consumers." Do            6     lights to have the same health risks as
 7      you see that?                                        7     regular cigarettes?
 8    A. Just a second. I'm changing my glasses.             8   A. No. There's other things that can go into
 9      Okay, page ten. What paragraph again?                9     that.
10    Q. Paragraph ten?                                     10   Q. What are those other things?
11    A. Paragraph ten.                                     11   A. Well, there's other attributes to be
12    Q. Paragraph ten.                                     12     measured and whether or not they're
13    A. I'm sorry. I'm on page ten.                        13     sufficiently different.
14    Q. Page five, paragraph ten, and in that              14   Q. For example, what are those other attributes
15      paragraph you state that you conclude that          15     that have to be measured?
16      "Health risks are a positive contributing           16   A. Taste, pack size.
17      factor in the choice of light cigarettes for        17   Q. Now why do I have to --
18      90.1 percent of light cigarette consumers."         18   A. Price.
19      Do you see that?                                    19           MR. GALLAGHER: He's not done. Go
20    A. Yes, I see that.                                   20     ahead. Taste, pack size and --
21    Q. What do you mean by "positive contributing         21   A. Taste, pack size and price.
22      factor?"                                            22   Q. Why would I have to measure taste to
23    A. What I mean by positive contributing factor        23     determine whether 90 percent or 90.1 percent
24      is if consumers are given the choice between        24     of light cigarette smokers would not have
25      cigarettes that vary in price and vary in           25     purchased light cigarettes if they had
                                                 Page 483                                                  Page 485
 1      health risk and possibly taste and pack              1   perceived lights to have the same risks as
 2      size, that the coefficient partworth of              2   regular cigarettes?
 3      health risk will be positive, that is a              3         MR. GALLAGHER: Objection to form.
 4      compensatory attribute and trading off               4 A. Well, as I mentioned before the conjoint
 5      health risk versus those other attributes.           5   analysis to which you're referring to this
 6    Q. Now do you mean by that that -- have you            6   90 percent comes from is an analysis of
 7      determined that 90 percent of light                  7   these four attributes, and you're taking
 8      cigarette smokers -- strike that. New                8   just one of those attributes.
 9      question. Does that 90.1 percent mean --             9         I've indicated that there are other
10      that figure that you have in paragraph ten,         10   things that can compensate for health risk
11      does that mean that 90 percent or                   11   so if you give me two completely specified
12      90.1 percent of light cigarette smokers             12   profiles, then I can give you an answer to
13      would not have purchased light cigarettes if        13   that question, and you're only giving me --
14      they had perceived the risks of lights to be        14   you're only specifying one attribute in that
15      the same as the risks of regular cigarettes?        15   profile.
16             MR. GALLAGHER: Objection.                    16 Q. How do you determine the percentage of light
17    A. That's -- you've basically changed a context       17   cigarette smokers who would not have
18      here and you've essentially changed from            18   purchased light cigarettes if they had
19      preferences to perceptions, and without             19   perceived lights to have the same risks as
20      further details on your question, I can't           20   regular cigarettes?
21      answer that, so if you provide me with more         21         MR. GALLAGHER: Objection to the
22      details I can answer your question.                 22   form.
23    Q. Like what details?                                 23 A. The data that I have coupled with other data
24    A. Well, restate the question and I'll give you       24   can be used by other experts such as Doctor
25      those details.                                      25   Harris should he choose to do so to answer
                                                                                  40 (Pages 482 to 485)
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                                                Page 486                                                  Page 488
 1      questions such as that.                             1     market -- full market equilibrium analysis.
 2    Q. Have you answered that question?                   2     I have not done a full market equilibrium
 3    A. I am not providing a damages opinion in this       3     analysis in this case although the data that
 4      case. I can talk about what the data means          4     I provided may be used in such analysis.
 5      from the survey, and I can give you                 5   Q. Can I ask you to turn to page 16 of your
 6      interpretations of that data, and that's            6     expert report, footnote 21. Would it be a
 7      what I'm here to do today.                          7     correct interpretation of this footnote to
 8    Q. I'm not sure, just as background, what is a        8     conclude from it that you found that --
 9      damage question and what is not, so let me          9   A. Might be simpler if I read it first and then
10      ask again the actual question of whether you       10     listen to your question.
11      have done an estimate, done a calculation on       11   Q. Fine, please.
12      the percentage of light cigarette smokers          12           MR. GALLAGHER: Footnote 21?
13      who would not have purchased lights if they        13           MR. GARNICK: Footnote 21.
14      had perceived the risks of lights to be the        14           MR. GALLAGHER: Okay, thanks.
15      same as the risks of regular cigarettes?           15   A. Okay, now you can ask the question. I just
16             MR. GALLAGHER: Objection. Asked             16     wanted to make sure which ways the numbers
17      and answered.                                      17     are going and things like that. Yes.
18    A. I have provided a market simulation in this       18   Q. On average were the partworths greater for
19      paper -- I'm sorry -- expert report and            19     soft pack or hard pack?
20      that's the market simulation upon which I'm        20   A. Like to look at the exhibit to be sure, but
21      providing an expert opinion. In doing that         21     based upon this footnote it appears that it
22      I seem to recall we may have done a little         22     was higher for soft pack versus hard pack.
23      bit of sensitivity analysis. I don't recall        23   Q. Do you know whether, in the market, the
24      all of those, but beyond that I've not done        24     majority of light cigarette smokers prefer
25      a lot of market simulations, particularly          25     soft pack or hard pack?
                                                Page 487                                                  Page 489
 1      using price and tastes and other data from          1   A. This is indicative of preference not
 2      the marketplace as it exists, and those             2     conditioned upon all the other attributes.
 3      market simulations would be what would be           3   Q. I'm sorry. Was that a yes, you know, or no,
 4      required to answer the question that you're         4     you don't know?
 5      posing which is an incomplete question with         5   A. Well, this is indicative of the fact that on
 6      respect to the conjoint analysis.                   6     average the partworth of soft pack is higher
 7    Q. Have you offered an opinion as to a specific       7     than the partworth of hard pack.
 8      percentage of light cigarette smokers who           8   Q. Do you know whether, in the real market, the
 9      would not have purchased light cigarettes if        9     majority of light cigarette smokers prefer
10      they had perceived the risks of lights to be       10     hard pack or soft pack?
11      the same as regular cigarettes?                    11   A. I don't want to pick on bones, but what do
12    A. I have -- data that I've provided can be          12     you mean by prefer? Do you mean that all
13      used to run that analysis with other data.         13     else equal, do they prefer soft versus hard
14      I have not particularly run that analysis          14     pack?
15      yet; however, should I be provided that            15   Q. Right.
16      data, I certainly would be able to run those       16   A. This would be indicating that all else
17      analysis.                                          17     equal, it's soft. On average the partworth
18    Q. Have you been asked in this case to estimate      18     is bigger. Now this is the average
19      what the market price would be if lights had       19     partworth is bigger. Does not say that the
20      always been perceived by consumers to be           20     majority of people prefer soft versus hard
21      just as risky as regular cigarettes?               21     pack, and we've gone through that before,
22            MR. GALLAGHER: Objection to the              22     the difference between averages and numbers
23      form.                                              23     of people. Median is reflective of numbers
24    A. In order to determine the market price, I         24     of people. Average is just averaging the
25      presume that an economic expert would do a         25     part where it's overall people. Now from
                                                                                 41 (Pages 486 to 489)
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                                                 Page 502                                                  Page 504
 1   the case. Again, there were percentages and             1   Q. Is the 90.1 percent, that doesn't represent
 2   we looked at the percentages, but I can't               2     the people who have a positive partworth
 3   remember all the details. Now I think if                3     comparing the partworths for health for
 4   you'd like we can go to the actual                      4     light cigarettes and the partworth for
 5   description of that calculation which is in             5     health for regular cigarettes, correct?
 6   the report.                                             6   A. What the 90.1 percent -- it says
 7 Q. Well, I'm satisfied with your answer unless            7     90.1 percent of the people care about health
 8   you feel you need to go through it. Let me              8     and are willing to trade off health risks
 9   just ask another question.                              9     versus other aspects in the marketplace. So
10 A. Let me just make sure I answered it                   10     over this range they have a positive
11   correctly. I think we had it on page 22 or             11     valuation of health, and the range, I'm very
12   something? It's getting late in the day and            12     comfortable with the differences there.
13   I want to make sure I answer -- positive               13   Q. So the 90.1 percent is not the percentage of
14   value on health risk. I can't find it in               14     light smokers who perceive that lights are
15   the report, but as I recall importances were           15     less unhealthy than regulars, correct?
16   basically the difference between the maximum           16   A. That's a different number that we've spoken
17   and the min. We've gone over that earlier              17     about before.
18   in the deposition.                                     18   Q. Okay.
19 Q. Okay. Now if I wanted to know for what                19   A. This 90.1 percent is the people that place a
20   percentage of light cigarette smokers, the             20     positive value on health and are willing to
21   difference or the net of value of                      21     trade off health versus other aspects.
22   partworths -- strike that. If I wanted to              22   Q. Now you talk about ranking the attributes in
23   compare not the greatest -- if I wanted to             23     your expert report, correct?
24   compare not the extremes of partworth, that            24   A. Yes.
25   is, greater than regulars and less than                25   Q. And in ranking the attributes, you look at
                                                 Page 503                                                  Page 505
 1      ultras -- if I just wanted to compare the            1     the differences between partworths between
 2      partworths attached to the risks of light            2     two extremes, is that fair to say?
 3      and the risks of regulars, how would I do            3   A. Yes, and that's so -- I think we've gone
 4      that?                                                4     over that before, and that was the paragraph
 5    A. Well, okay, first is the partworths as they         5     I was trying to find. If someone can help
 6      perceive it.                                         6     me find that paragraph, we can be very exact
 7    Q. Right.                                              7     as to the definitions.
 8    A. So the partworths of their perceptions of           8   Q. Now if we wanted to rank the attributes only
 9      light versus the partworths of, say, their           9     with respect to light and regular
10      perceptions of ultra lights. If you want to         10     cigarettes, we could get a different
11      compare lights versus ultra lights.                 11     ranking, couldn't we?
12    Q. How about lights versus regulars?                  12           MR. GALLAGHER: Objection to the
13    A. So you'd like to compare lights versus             13     form.
14      regulars, so we'd like to compare lights            14   A. Well, what I've done is I've provided the
15      versus regulars for each and every                  15     ranking of partworths with respect to the
16      respondent recognizing that for some of the         16     max versus the min. I have not completed
17      people they perceive that the health risks          17     the analysis. It's another analysis that
18      of lights are less than regulars and some of        18     can be done. It might make a health risk
19      the people, as you've indicated, may have a         19     more. It might make a health risk the same,
20      different perception.                               20     etcetera and it's something that certainly
21            We have provided -- I'm pretty sure           21     is doable.
22      in the documents, the posterior means, for          22   Q. If, over 37 percent of the respondents who
23      every respondent on all these partworths.           23     took the conjoint study believed that lights
24    Q. So they can be calculated?                         24     were as risky or more risky than regular
25    A. Yes. They can be calculated.                       25     cigarettes, that would likely affect the
                                                                                   45 (Pages 502 to 505)
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                                                Page 506                                                   Page 508
 1   ranking if one restricted the ranking only             1   believed that lights were as risky or more
 2   to comparing light cigarettes and regular              2   risky than regular cigarettes, correct?
 3   cigarettes, is that fair?                              3 A. Okay. Remember that these respondents
 4         MR. GALLAGHER: Objection to the                  4   perceived this at the time of the survey, so
 5   form. Go ahead.                                        5   I don't know what their perceptions were
 6 A. Okay. You know, here we are actually                  6   prior, you know, maybe a year or two prior
 7   getting into some of the technical data in             7   to the survey, so with that caveat, we have
 8   the HB -- hierarchical Bayes in the --                 8   two different measures.
 9   mark-off chain analyses. Certainly as we               9          One is their measures of the
10   change the inputs in the questions we ask,            10   perceptions of light versus regular
11   those are questions that can be answered.             11   cigarettes with respect to health risks and
12   Now I have not, sitting here today, run               12   we're finding that yes, approximately 60
13   those particular numbers, so those are                13   some odd percentage of people feel that
14   numbers that can be run, and I know you've            14   light cigarettes are less unhealthy than
15   been provided with the posterior means so             15   regular cigarettes, and then we have another
16   you can run those numbers.                            16   statement which is related to it, but it's
17         If I'm asked that question by                   17   not the same statement and that's that
18   either you or counsel and I'm asked to look           18   roughly 90 percent of the people place some
19   into that, I have the means of answering              19   positive value on health risks and are
20   that question, but I don't know the answer            20   willing to trade things off with respect to
21   to that question without doing those                  21   health risk.
22   analyses                                              22 Q. But the two statements are not the same,
23 Q. And again just to be clear, when you said            23   correct?
24   that approximately 18 percent of the                  24 A. That's what I've just testified. I've
25   respondents ranked health risks at the very           25   testified that you have to interpret these
                                                Page 507                                                   Page 509
 1      top, that was referring to the result from          1     as to what they're actually saying and that
 2      looking at the two extremes, greater than --        2     these are two of the many data points or
 3      the health risks greater than regular               3     analyses in the report that lead me to the
 4      cigarettes and health risks less than an            4     conclusion that the vast majority of these
 5      ultra-light.                                        5     consumers care about health risks.
 6    A. Yes, and I'd like to put that in context, if       6   Q. Let me direct your attention to paragraph
 7      I may.                                              7     nine of your expert report, the second
 8    Q. Go ahead.                                          8     sentence. It says, "The results can be
 9    A. That there are a large number of percentages       9     relied upon to draw inferences about
10      in the report which are basically consistent       10     whether" --
11      and the 18 percent is one of them. I think         11   A. Could I catch up? Thank you.
12      it was 57 percent which ranked second, but         12   Q. Please.
13      basically taking all those analysis as a           13           MR. GALLAGHER: I'm sorry,
14      whole it's pretty clear that health is             14     paragraph nine, page nine?
15      pretty important to these respondents, and         15           THE WITNESS: I'm sorry, I keep
16      it's really the health risks are very              16     going to the page. Paragraph nine, page
17      important to these respondents as a whole          17     five, okay. I'm sorry for --
18      and the vast majority of these, and so we're       18   Q. Second sentence.
19      taking single numbers, and all these numbers       19   A. Second sentence.
20      are indicative of the overall opinion, and         20   Q. "The results can be relied upon to draw
21      the overall opinion, as summarized, is that        21     inferences about whether health risks are a
22      health risks is important to the vast              22     significant contributing factor in consumer
23      majority of these respondents.                     23     decisions to smoke light cigarettes." Let
24    Q. Health risks are also important to the            24     me pause there. Do you see that?
25      over 37 percent of the respondents who             25   A. Yes.
                                                                                  46 (Pages 506 to 509)
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                                              Page 534                                                  Page 536
 1   extremes. Certainly the consumer, as we              1   more health risks than regular cigarettes,
 2   found in the pre-tests, and as you've so far         2   correct?
 3   indicated, many people have stated -- and I          3          MR. GALLAGHER: Objection to the
 4   think we've gone to that number. It's sort           4   form.
 5   of 38 percent or whatever, did say that              5 A. Well, as -- I didn't know that. It's
 6   cigarettes were -- that the health risk of           6   reasonable to assume but, in fact, this
 7   regular cigarettes were, in their own                7   would -- you might say that I'm bending over
 8   perception at the time of the survey,                8   backwards to make sure that this question is
 9   the same as the health risks of light                9   two-sided in its nature and it's not leading
10   cigarettes, so this is a two-sided                  10   them one way or the other.
11   question. It was pre-tested. It appears             11          What you're implying is that there
12   to be accurate, and people are responding           12   might be a demand artifact to have them --
13   with the answer that you're implying that           13   that, in fact, this 37 percent that we're
14   they would not respond with, so I'm very            14   having that we've been talking about is too
15   comfortable with the statement of this              15   high a number, and it should be less than
16   question.                                           16   that. Now, that's what you're implying. I
17 Q. Did you provide, as an example, that they          17   don't believe that. I believe that the
18   might believe that smoking light cigarettes         18   numbers in the survey are accurate to the
19   provides the same health risks as regular           19   best of our ability and subject to response
20   cigarettes?                                         20   errors, etcetera, but I do not believe that
21         MR. GALLAGHER: Objection to the               21   this statement, in the first paragraph on
22   form.                                               22   page E15, is causing any bias one way or the
23 A. You know, the direction you're going you're        23   other.
24   going to say, you know, I should have been          24 Q. If the great majority of people taking this
25   saying 50 percent more, 20 percent more,            25   survey, if it's reasonable to assume that
                                              Page 535                                                  Page 537
 1      etcetera. I have provided a two-sided             1     the great majority of the people taking this
 2      question. The two-sided question gives the        2     survey would not think that lights are more
 3      high level; it gives the low level and by         3     risky than regular cigarettes, doesn't this
 4      implication gives the middle level, and           4     first paragraph suggest to them that smoking
 5      that's the way the respondents understood it      5     light cigarettes provides less risk than
 6      at least to the best of my recollection.          6     smoking regular cigarettes?
 7    Q. Did you list, as an example, that light          7            MR. GALLAGHER: Objection to the
 8      cigarettes might present the same health          8     form.
 9      risks as regular cigarettes?                      9   A. First you said more. Then you said less.
10    A. In this particular statement we list more       10     I'm not sure -- seems to be a confusing
11      health risk, less health risk. We do not         11     question here. I mean --
12      explicitly list equal health risk although       12            MR. GALLAGHER: Hold on. Let him
13      that's implicit in the two-sided statement.      13     restate the question.
14             MR. GALLAGHER: I just want to be          14   Q. You said that it was reasonable to assume
15      clear. You're talking about just in the          15     that at least the majority of participants
16      first paragraph or in the entire screen          16     taking the survey would not believe that
17      shot?                                            17     smoking light cigarettes would be more risky
18    A. My answer is with respect to just a single      18     than smoking regular cigarettes.
19      paragraph.                                       19   A. I did not say that, but go on.
20             MR. GARNICK: Just state your              20   Q. The record will be clear.
21      objection.                                       21   A. The record was saying that I did not have
22             MR. GALLAGHER: I did.                     22     that preconceived notion. It might be
23    Q. You knew going in, before you conducted this    23     reasonable to assume that.
24      survey, that very few of the respondents         24   Q. Okay. If that is true, it's reasonable to
25      would believe that light cigarettes provide      25     assume that the majority of people would not
                                                                               53 (Pages 534 to 537)
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